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          Case 2:09-cr-00108-GMN-LRL        Document 82     Filed 08/02/10      Page 1 of 3

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      7                             UNITED STATES DISTRICT CO URT
      8                                    DISTRIC T O F N EV A DA

      9 UNITED STATES OF AM ERICA,                     )
                                                       )
     10                       Plaintiff,               )
                                                       )
     l1          v.                                    )           2:09-CR-0108-GMN-LRL
                                                       )
     12 SERGIO HERNANDEZ-HERNANDEZ,                    )
                                                       )
     13                       Defendant.               )
     14                         PR ELIM INA RY O R DER O F FO R FEITU RE
     15          n isCourtfindsthatonAugust2,2010,defendantSERGIO HERNANDEZ-HERNANDEZ
     16 pled guilty to CountsThree and Nine ofa Ten-countCrim inallndictm entcharging him in Count
     17 Threewith Conspiracyto DistributeM ethamphetnm ine,in violation ofTitle21, Urlited StatesCode,

     18 Section 84l(a)(1)and(b)(l)(B),and 846;and inCountNinewithIllegalAlien in Possessionofa
     19 Firearm,inviolationofTitle18,UnitedStatesCode,Section922(g)(5)(A).
     20          ThisCourtfinds,ptlrsuantto Fed.R.Crim ,P.32.2(b)(1)and(2),thattheUnitedStatesof
     21 Am ericahasshowntherequisitenexusbetweenpropertysetforthinForfeitlzreAllegationsOne, Tw o,
     22   Five, Six, and Seven of the Bill of Particulars and the offenses to which defendant SERGIO
     23 H ERN AN D EZ-HERN AN DEZ pled guilty.

     24          n efollowingassetsaresubjecttoforfeiturepursuanttoTitle21,UnitedStatesCode,Section
     25 853(a)(1)and(a)(2);Title 18,UnitedStatesCode,Section 924(d)(1),(2)(C),and(3)(B),Title21,
     26 United StatesCode,Section 881(a)(11)andTitle28,United StatesCode,Section 2461(c):
         Case 2:09-cr-00108-GMN-LRL         Document 82           Filed 08/02/10   Page 2 of 3




     1                  (1)    aSmithandW esson,AirlightM odel.357caliberrevolver,withserialnumber
     2                        DAW 5184 and any and a1lrelated am munition;
     3                  (2)    aPW Arms9mm semi-automatichandgun,withserialnumberBD262628and
     4                         anyand a11related nm mtmition;

     5                 (3)    aSaiga7.62caliberrifle,madeinRussiw withtheserialnumberremovedand
     6                        any and al1related nm m tm ition;

     7                 (4)    aHatstm Arms,EscortModel12gaugeshotgtm,withserialnumber043737
     8                        and any and allrelated amm unition;

     9                 (5)    aBeretta.22calibersemi-automatichandgunswithserialnumberP18424and
    10                        any and allrelated am m unition;

    11                 (6)    aBushmaster,XM 15E25M odel.223calibersemi-automaticrifle,withserial
    l2                        num berL413105 and any and a11relatednmm tmition;
    13                 (7)    $20,063.00inUnitedStatesCurrencyseizedfrom themasterbedroom at2832
    14                        Glistening G rove A venue,Henderson, Nevada 89052;

    l5                 (8)    $6,050.00 in United StatesCurrency seized from theupstairshallclosetat
I   16                        2832 Glistening Grove Avenue, Henderson,N evada 89052;
    17                 (9)    $3,490.00 in United States Currency seized from the Blue Folzr Door
    18                        M itsubishiSedan bearingNevadaLicensePlate 756VPA;and
'

    19                 (10) 2003 BlackM itsubishifourdoorsedan,NevadaLicensePlate969V-1-11.
    20                        VlN :.1A3A86E63V078331.
    21           ThisCourtfindsthe United StatesofAmerica isnow entitled to, and should,reduce the
    22 aforem entioned property to the possession ofthe United Sutes ofA m erica.
    23           N O W TH EREFO RE,IT IS HER EBY O RDER ED , A D JU DO ED ,AN D DECREED thatthe
    24 U nited StatesofAm erica should seize the aforem entioned property.
    25 . . .
    26   . . .

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         Case 2:09-cr-00108-GMN-LRL           Document 82    Filed 08/02/10     Page 3 of 3




     1           IT ISFURTHER ORDERED,ADJUDGED,AND DECREED thatallrightstitle,andinterest
     2   ofSERGIO HERN ANDEZ-HERNANDEZ intheaforementionedproperty isforfeited and isvested
     3 in theUnited StatesofAmericaand shallbesafelyheldbytheUnited StatesofAmelicatmtilfurther
     4   orderofthe Court.
     5           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatthe United States of
     6 Americashallpublish foratleastthirty (30)consecutive daysontheofficialintemetgovernment
     7 forfeittlre website,wwm forfeittlre.eov.notice of this Order,which shalldescribe the forfeited
     8 property,statethetim eundertheapplicablestatutewhen apetition contestingtheforfeituremustbe
     9   filed,and statethenam eand contactinform ation forthe governmentattorney tobeserved w1t11the

    10 petition,pursuanttoFed.R.Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2).
    11           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thata petition, ifany,m ust
    12   betiled with the Clerk ofthe Court,333 LasVegasBoulevm.d South,IaasVegms, Nevada89101.
    13           IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatacopy ofthepetition, if
    14 any,shallbeserved upon theAssetForfeitureAttorneyoftheUnited StatesAttom ey'sOfficeatthe
    15 follow ing address atthe tim e offiling:
    16                 LucasM .Foletta
                       AssistantUnited StatesAttorney
    17                 Lloyd D .George U nited States Courthouse
                       333 Las V egasB oulevard South,Suite 5090
    18                 LasVegas,Nevada 89101.
    19           IT IS FURTHER ORDERED,ADJUDGED , AND DECREED thatthe notice described
    20 herein need notbe published in the eventa Declaration ofForfeittlre isissued by the appropriate
    21 agency following publication ofnotice ofseizure and intentto adm inistratively forfeitthe above-
    22   described assets.
    23           DATED this          day of                     ,   2010.
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ë   26                                             UNI'FED ST        S DISTRICT JUDGE
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